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                    EXHIBIT C
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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


 THE NEW YORK TIMES COMPANY,
                                                           Civil Action No. 1:23-cv-11195
                       Plaintiff,

                          v.

 MICROSOFT CORPORATION, OPENAI, INC.,
 OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
 OPENAI OPCO LLC, OPENAI GLOBAL LLC,
 OAI CORPORATION, LLC, and OPENAI
 HOLDINGS, LLC,

                       Defendants.


       THE NEW YORK TIMES COMPANY’S FIRST SET OF REQUESTS FOR
  PRODUCTION TO OPENAI, INC., OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
   OPENAI OPCO LLC, OPENAI GLOBAL LLC, OAI CORPORATION, LLC, AND
                       OPENAI HOLDINGS, LLC

       Pursuant to the Federal Rules of Civil Procedure and the Local Rules of the Southern

District of New York, (the “Local Civil Rules”), The New York Times Company (“NYT”)

requests that OpenAI, Inc., OpenAI LP, OpenAI GP, LLC, OpenAI, LLC, OpenAI OPCO LLC,

OpenAI Global LLC, OAI Corporation, LLC, and OpenAI Holdings, LLC (“OpenAI Defendants”)

produce the requested documents at the offices of Susman Godfrey L.L.P., 1301 Avenue of the

Americas, 32nd Floor, New York, NY 10019, within thirty days after the date of service of this

document, or at such other mutually agreeable time and place.

                                      I.     DEFINITIONS

       The following definitions and instructions apply to the requests listed below:

       1.     All definitions and rules of construction set forth in Rule 26.3 of the Local Rules

of the Southern District of New York are incorporated by reference herein.



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       10.     If you or your lawyers find any of these requests vague, confusing, hard to

understand, or if they just want to talk through some issues relating to the requests, please call

Elisha Barron at 212-729-2013. Please do not wait and object instead of attempting to resolve the

issue with a telephone call. Thank you.

                               III.     DOCUMENT REQUESTS

REQUEST FOR PRODUCTION NO. 1:

       Documents concerning the use of Times Content for training or fine tuning Your Text

Generation AI Models, including, for every Text Generation AI Model that uses Times Content:

i) the amount and prevalence of Times Content in the Training Datasets by token count, word

count, article count, as a percentage of the Training Datasets, or by any other metric; ii) rules or

guidance for choosing what is and is not included in the Training Datasets for the Text Generation

AI Models; iii) use of Times Content to clean or curate the Training Datasets; iv) any weighting

of particular Training Datasets for the Text Generation AI Models; and v) use of Times Content

for any post-training activity, including fine tuning.

REQUEST FOR PRODUCTION NO. 2:

       Documents You have gathered to submit or have submitted to any legislative or executive

agency, committee, or other governmental entity in the United States that concern or relate to the

allegations in the Complaint, including any Documents related to Your intended or actual

submission.

REQUEST FOR PRODUCTION NO. 3:

       Documents concerning copyrighted material in the Text Generation AI Models, the

Training Datasets, or any Generative AI Products and Services, including documents or

communications regarding the appropriateness, value, importance, necessity, and/or concerns over

or legal implications of the use of such materials.



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including those sufficient to show OpenAI’s board of directors, parent companies, subsidiaries,

affiliates, departments, and divisions; and those sufficient to show the function each Defendant

plays within Your corporate structure as a whole.

REQUEST FOR PRODUCTION NO. 10:

       Documents sufficient to identify OpenAI’s current and former officers, directors,

managers, employees and consultants with knowledge of the Text Generation AI Models, business

practices regarding the Text Generation AI Models, and commercialization and use of the Text

Generation AI Models.

REQUEST FOR PRODUCTION NO. 11:

       Documents concerning OpenAI’s transition to a for-profit company, as alleged in

paragraphs 57-58 of the Complaint.

REQUEST FOR PRODUCTION NO. 12:

       Documents concerning Defendants’ use of Retrieval Augmented Generation (“RAG”) in

Generative AI Products and Services, including: (i) use of Times Content for RAG; (ii) rules or

guidance for preferring or avoiding certain web domains (including The Times’s web domains or

sites known to host content copied from other sources) when choosing what to include in a

generative result; (iii) rules for whether and how the results from RAG search products are similar

to or different from standard search results; (iv) and rules regarding paywalls.

REQUEST FOR PRODUCTION NO. 13:

       Documents concerning the features or capabilities of Retrieval Augmented Generation.

REQUEST FOR PRODUCTION NO. 14:

       A complete listing of every data sample in the Training Datasets used to train each of the

Text Generation AI Models and the source from which each data sample was obtained.




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REQUEST FOR PRODUCTION NO. 15:

       Documents concerning any commercial or supercomputing collaborations between and

among the Defendants relating to the Generative AI Models, including licensing, developing,

training, hosting, engineering, testing, deploying, or operating Generative AI Product(s) and

Service(s).



Dated: February 23, 2024                  /s/ Elisha Barron

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